                 Case 20-10036-CSS              Doc 79       Filed 02/25/20        Page 1 of 1
                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                                        Chapter 11

 TOUGH MUDDER, INC., et al.,                                   Case No. 20-10036 (CSS)
                       Debtors.1
                                                               (Jointly Administered)


                                                               Re: D.I. 58

            NOTICE OF WITHDRAWAL OF DOCUMENT RE: DOCKET NO. 58

          Please note that the above-referenced document has been withdrawn, as Storm Events,

LLC’s objection has been resolved by language to be incorporated in the proposed form of sale

order.

Date: February 25, 2020
      Wilmington, Delaware
                                                              CIARDI CIARDI & ASTIN

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                                                               a California limited liability company

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’ address is 15
MetroTech Center, Brooklyn, NY 12201.
